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 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA

10
11    THOMAS F. REISER, JR.,               No. 2:16-cv-00237-MCE-CKD
      et al.,
12
                    Plaintiffs,
13
            v.
14                                         AMENDED ORDER OF CONSOLIDATION
      MARRIOTT VACATIONS WORLDWIDE
15    CORPORATION, et al.,
16                  Defendants.
17
18                                         No. 2:16-cv-01465-MCE-CKD
      ARJUN BHAGAT, et al.,
19
                     Plaintiffs,
20
            v.
21
      MARRIOTT VACATIONS WORLDWIDE
22    CORPORATION, et al.,
23                  Defendants.
24
25    See case caption on next page
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     Case 2:17-cv-00952-MCE-CKD   Document 16   Filed 07/25/17   Page 2 of 3


 1    CHRISTOPHER B. EHRLICH,              2:17-cv-00952-MCE-CKD
      et al.,
 2
                     Plaintiffs,
 3
              v.
 4
      MARRIOTT VACATIONS WORLDWIDE
 5    CORPORATION, et al.,
 6                  Defendants.
 7
 8          After review of the Amended Joint Motion to Consolidate
 9    Cases, the Court makes the following orders:
10          1. Pursuant to Red. R. Civ. P. 42, the actions denominated
11    as Thomas F. Reiser, Jr., et al. v. Marriott Vacations Worldwide
12
      Corporation, et al., 2:16-cv-00237-MCE-CKD, Arjun Bhagat, et al.
13
      v. Marriott Vacations Worldwide Corporation, et al., No. 2:16-cv-
14
      01465-MCE-CKD, and Christopher B. Ehrlich, et al., v. Marriott
15
      Vacations Worldwide Corporation, et al., No. 2:17-cv-00952-MCE-
16
17    CKD, are consolidated;

18          2. Case No. 2:16-cv-00237-MCE-CKD, Thomas F. Reiser, Jr.,

19    et al. v. Marriott Vacations Worldwide Corporation, et al., is
20    designated as the “master file”;
21
            3. The Clerk of the Court is directed to add all complaints
22
      and answers filed in Arjun Bhagat, et al. v. Marriott Vacations
23
      Worldwide Corporation, et al., No. 2:16-cv-01465-MCE-CKD, and
24
25    Christopher B. Ehrlich, et al., v. Marriott Vacations Worldwide

26    Corporation, et al., No. 2:17-cv-00952-MCE-CKD to the master

27    case;
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 1          4. The Clerk of the Court is directed to administratively
 2    close cases Arjun Bhagat, et al. v. Marriott Vacations Worldwide
 3
      Corporation, et al., No. 2:16-cv-01465-MCE-CKD, and Christopher
 4
      B. Ehrlich, et al., v. Marriott Vacations Worldwide Corporation,
 5
      et al., No. 2:17-cv-00952-MCE-CKD;
 6
            5. The parties are directed to file all future pleadings,
 7
 8    motions and other filings ONLY in the master case,

 9    No. 2:16-cv-00237-MCE-CKD.

10          IT IS SO ORDERED.
11    Dated:   July 24, 2017
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